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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


RICHARD A. GORMAN,                                               Civil Action No. 2:20-cv-04759-JCJ

                              Plaintiff,

               -against-


ILLYA SHPETRIK,

                              Defendant.


                                             ORDER


       AND NOW, this ______ day of _________________, 2021, upon consideration of

Defendant Illya Shpetrik’s Motion to Dismiss Plaintiff’s Complaint and any response thereto, it is

hereby ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the Complaint and all claims against Defendant are

dismissed, with prejudice, for lack of personal jurisdiction and failure to state a claim pursuant to

Rules 8 and 12(b)(2), 12(b)(5) and 12(b)(6) of the Federal Rules of Civil Procedure.



                                              BY THE COURT:



                                              ____________________________________

                                              J. Curtis Joyner




                                            {00989110.v1 }1
